Case o-24-QoU0/1-aSt DOC lo-o Fined lifly/24 centered t1/ly/24 LUuiogio6

EXHIBIT “H”
Case o-24-QoU0/1-aSt DOC lo-o Fined lifly/24 centered t1/ly/24 LUuiogio6

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FILED

IDebtor 1_ Blue Diamond Air Systems, Inc U.S. Bankruptey Court
Debtor 2 Eastern District of New York
(Spouse, if filing) 1/8/2024

United States Bankruptcy Court Fastern District of New York | Robert A. Gavin, Clerk
Case number: 22-72698

Official Form 410
Proof of Claim 04/22

Read the Instructions before filling out this form, This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C, § 503,

Filers must leave out or redact information that Is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, ltemized statements of running accounts, contracts, Judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. Hf the documents are not available,

explain in an attachment,
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both, 18 U.S.C. §§ 152, 157, and 3571.
Fillin all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309} that you received.

identify the Claim

1.Who is the current NEW YORK STATE DEPARTMENT OF LABOR
creditor?

Name of the current creditor (the person or entity to be paid for this claim)

Other names the creditor used with the debtor

2.Has this claim been No

acquired from DO Yes. From whom?
someone else?

3.Where should notices
and payments to the
creditor be sent?

LABOR

Federal Rule of Name
Bankruptcy Procedure Name

(FRBP) 2002(g) ,
STATE CAMPUS BLDG 12 RM 256
ALBANY, NY 12240

Contact phone 5184575384 Contact phone

Contact email

BANKRUPTCY@LABOR.NY,GOV

Contact email

Uniform claim identifier for electronic payments in chapter 13 (if you use one):

4.Does this claim amend [1 No

one already filed? Yes. Claim number on court claims registry (if known) a Filed on gay) 779093

MM DD f ¥Y¥v¥

5.Do you know if anyone No
Oo

else has filed a proof Yes. Who made the earlier filing?
of claim for this claim?

Official Form 410 Proof of Claim page 1
Case o-24-QoU0/1-aSt DOC lo-o Fined lifly/24 centered t1/ly/24 LUuiogio6

Give Information About the Claim as of the Date the Case Was Filed

claim?

8.Do you have any O No
number you use to Yes. Last 4 digits of the debter’s account or any number you use to identify the debtor: 0784
identify the debtor?

7 ,How much is the $ 97616.57 Does this amount include interest or other charges?

wl No

Dj Yes. Attach statement itemizing interest, fees, expenses, or
other charges required by Bankruptcy Rule 3001(c)(2}(A).

cS. What is the basis of
the claim?

Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
death, or credit card. Attach redacted copies of any documents supporting the claim required by
Bankruptcy Rule 3001 {c).

Limit disclosing information that is entitled to privacy, such as healthcare information.
UNEMPLOYMENT INSURANCE CONTRIBUTIONS

9. Is all or part of the
claim secured?

No
[ Yes. The claim is secured by a lien on property.

Nature of property:

C1 Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
Proof of Claim Attachment (Official Form 410-A) with this Proof of Claim.

L] Motor vehicle

2 Other, Describe:

Basis for perfection:

Attach redacted copies of documents, if any, that show evidence of perfection of a security
interest (for example, a mortgage, lien, certificate of title, financing statement, or other
document that shows the lien has been filed or recorded.)

Value of property: $

Amount of the claim that is $

secured:

Amount of the claim that is $ (The sum of the secured and
unsecured: unsecured amounts should

match the amount in line 7.)

Amount necessary to cure any defaultas ofthe = ¢
date of the petition:

Annual Interest Rate (when case was filed) %
Ol Fixed
O] Variable
10.ls this claim based on No
a lease? (1 Yes. Amount necessary to cure any default as of the date of the petition.$
111s this claim subject to No
a right of setoff? 0 Yes. Identify the property:

Official Form 410

Proof of Claim page 2

Case 0-24-0600 /1-ast

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12.Is all or part of the claim
entitled to priority under
11 U.S.C. § 507 (a)?

CL} No

Yes. Check all that apply. Amount entitled to priority

A claim may be partly
priority and partly
nonpricrity.

lawl imits the amount
entitled to priority.

or example,
in some categories, ihe

CO Domestic support obligations (including alimony and child support) ¢
under 11 U.S.C. § 507(a}(1){A) or (a)(1){B).

C] Up to $3,350" of deposits toward purchase, lease, or rental of §
property or services for personal, family, or household use. 14
U.S.C. § 507(a)(7).

CL Wages, salaries, or commissions (up to $15,150*) earned within =
180 days before the bankruptcy petition is filed or the debtor's
business ends, whichever is earlier. 11 U.S.C. § 507(a)(4)}.

Taxes or penalties owed to governmental units. 11 U.S.C. §
507 (a)(8).

[J Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5}. ¢

$ 97616.57

1 Other. Specify subsection of 11 U.S.C. § 507(a)t_) that applies 5

* Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date
of adjustment.

Sign Below

The person completing
this proof of clalm must
sign and date it. FRBP
9$011(b).

If you file this claim
electronically, FRBP

pos tant?) authorizes courts
to establish local rules
specifying what a signature
is.

A person who files a
fraudulent claim could be
fined up to $600,000,
imprisoned for up to 5
years, or both.

18 U.S.C. §§ 152, 157 and
3571.

Check the appropriate box:

C1 | am the creditor.

fam the creditor's attorney or authorized agent.

OL jam the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
O |ama guarantor, surety, endorser, or other codebter. Bankruptcy Rule 3005.

| understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.

| have examined the information In this Proof of Claim and have a reasonable belief that the Information is true
and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on date 1/8/2024

MM /DDIYYYY

isi MARTA COLE

Signature
Print the name of the person who is completing and signing this claim:
Name

MARTA COLE
First name Middie name Last name
Title UI EMPLOYER COMPLIANCE
AGENT
Company NEW YORK STATE DEPARTMENT OF
LABOR
Identify the corporate servicer as the company if the authorized agent is a
servicer
Address STATE CAMPUS BLDG 12 RM
256

Number Street
ALBANY, NY 12240

City State ZIP Code

Contact phone =——-§ 184575384 Email BANKRUPTCY@LABOR.NY.GOV

Official Form 410

Proof of Claim page 3

Cast 22- f2b98-ast “Cia 4 Pan 2’ "Fler Unde/z4 “Desc atcleriifehe 1° Page 2

of 1
Employer Insolvency Profile
EMPLOYER NAME DOCKET NO.: TYPE:
BLUE DIAMOND AIR SYSTEMS INC 22-°72698
1165 STATION ROAD TELEPHONE: EXT
MEDFORD, NY 11763
COURT ATTORNEY
U.S. Bankruptcy Court DAWN KIRBY
DISTRICT FIRM NAME

Kirby, Aisner & Curley LLP
Eastern District of New York

PETITION FILED;

Chapter 11 10/4/2022
ER Number

TRUSTEE
MARC A PERGAMENT

FIRM NAME
WEINBERG GROSS & PERGAMENT LLP

700 Post Rd 400 GARDEN CITY PLAZA, STE 309
290 Federal Plaza Scarsdale, NY 10583 GARDEN CITY, NY¥ 115303336
Central Islip, NY = 11722
TELEPHONE: TELEPHONE
(516) 877-2424

Remarks:
LetterLog:
Administrative 10/4/2022 12/31/2022 $8,338.22 usomac 2/17/2023
Priority Claim 10/1/2020 6/30/2022 $78,761.00 usomac 11/2/2022
Priority Claim 10/1/2020 9/30/2022 $85,670.71 usomac 11/17/2022
Priority Ciaim 10/1/2020 10/3/2022 $86,273.15 usomac 2/17/2023
Priority Claim 10/1/2020 10/3/2022 $89,278.35 usomac 1/8/2024
Employer TYPE DATE NOTE SUB TYPE AMOUNT
Priority Claim
10/01/20-09/30/21 4/2020-3/2021 581(d) 3,586.28
10/01/21-09/30/22 4/2021-3/2022 581(d) 3,005.20
10/01/21-12/31/21 4/202] ACCRUED INT 462,92
01/01/22-03/3 1/22 1/2022 ACCRUED INT 2,900.28
04/01/22-06/30/22 2/2022 ACCRUED INT 189.81
10/01/21-12/3 1/21 4/202] Cont 5,715.01
01/01 /22-03/3 1/22 1/2022 Cont 56,868.20
04/01/22-06/30/22 2/2022 Cont 9,038.50
07/01/22-09/30/22 3/2022 Cont 6,909.71
10/01/22- 10/03/22 4/2022 Cont 287.52
04/01/21-12/31/21 2/202 1-4/2021 Posted Interest 314.92

Total by Type: Priority Claim 89,278.35
Administrative Expense Claim
10/04/22-12/3 1/22 4/2022 CONT 8,338.22

Total by Type: Administrative Expense Claim 8,338.22

Grand Total 97,616.57

Monday, January 8, 2024

Page | of 1
